    Case 9:18-cr-80109-RLR Document 42 Entered on FLSD Docket 08/17/2018 Page 1 of 4

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                                                     UN ITED STATES DISTR ICT CO URT

                                                     SOUTHERl
                                                            N/ISTRICTOFFLORIDA
                                                       Case No      -8OIO9-C/ROSENBERG

       UNITED ST/TES OF AMERICA,
                                                     F7lëhirlti
                                                              ff,
       VS.

       JOHN JOSEPH O'GM DY,

                                                     Defqndant.
                               ,                              --    /

                                                 STIPULATED STATEM ENT O F FACTS
                       A.          Elem ents ofOffense

                       By his signature befow,the defendantunderstands and acknowledges thatWere
                                   l
           this m atterto have procdeded to trial,the United States would have had to prove the

       '
           following
                   1
                     elem ents beyond a reasonable doubtas to the sole countofthe Infoimation
                       -                                                            .




           whichchargeshIm wlthFalselyImpersonatinia Deputy'U.S.Marshal,inviolatàonofTitle
           18, United States
                           ,'
                                  %Sectïon 912:
                              Code,
                       .
                                                 '
                           ,

                      First:               Thatthe Defendantfalsel y assum ed orpretended tq be
                                           an officeroremployee acting underthe authority ofthe
                                                                   .                         (
                                           U ni
                                              ted.states,as charged,
                  .   Second:          .   That,w hile pretending to be a federalofficer or
                                           em ployee,the Defendantacted as such;and

                      Third:               Thatthe Defendantdid so knowinglyandwillfullywith intentto
                                           deceive another-

                      The word ''knowinglW meansthatanactwasdonevoluntarilyandintentlonallyand
       notbecause ofa m lstake orby accident.
                                             1                                  .

              .
                      The w ord ''
                                 w illfully''m eans thatthe actwas com m itted voluntaril
                                                                                        y and purposely,
    Case 9:18-cr-80109-RLR Document 42 Entered on FLSD Docket 08/17/2018 Page 2 of 4

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       '
                                           r                                   I

           with the intentto do som ething the law forbids'
                                                          ,thatis:with the bad pùrpose to disobey or
           disregard the Iaw.W hile a person musthave acted wlththe intentto do something the 1aw
           forbids before you cansnd thatthe person acted ''  willfull
                                                                     y,''the person need notbe aware
           ofthe specisc Iaw orrule thathis conductmay be violating.

                 B. ' Penaltiep

                 The def
                     1
                       endantunderstands and acknowledges thatthe Ccurtm ay im pose a maxim um
                       .1                                                          .

           term ofuptothree(3)years'imprisonment,tobefollowedbya maximum term qfone(1)year
           ofsupervised release.In addition to a tefm ofim'
                                                          prisonm entand àupervised release, the Court
                                               (
           mayimposeafineöfuptotwohundredandfiftythousanddollars($250,000.00).Thedefendant
             '                                                        '
                                                                  .       (N
           isalloobligedtopaya$100.00specialassessmenttötheCourt               .



                 C.         Statem entofFacis

                  Had this m atter proceedqd to trial, the United States w ould have proven the
       .
            follow ing facts beyond a reasonable doubtrthrough adm issible testim ony and çvidence,

            whichthe defendantagreés,by hissigqature below,aretrue and correctfacts,and satisfy
                                                              1

            alIthe necessaryelementsoftheoffense ofconviction referencedaboveandinparagraph
            1 ofthe Plea Agreem ent:

                  1.        On March 21, 2018, Officers of the Boynton Beach Police Depadm ent

            (BBPD)responded to a callfrom th'
                                            e Managerofthe BestBuy Electronics RetailStore,
            Iocated at550 N .Congress Avenue,Boynton Beach,Iocated within Palm Beach County

            and the Southern DistrictofFlorida.'The Ménageradvisqd the officers thathe wished a
           m an in a business suit, Iater identified as.the defendant, John Joseph O 'G RADY

            (O'GRADY),to be issued a trespasswarning because defendantO'GM DY,had bqen
            previously observed yhoplifting an iphone 10 from the store on a prioroccasion. W hen
           BBPD officers m ade contactw ith defendant O 'G RADY, in an interqction captured on

                                                       2
    Case 9:18-cr-80109-RLR Document 42 Entered on FLSD Docket 08/17/2018 Page 3 of 4

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               audio/video bodycam footaje,they observed him attiredin suitwith ajacket,displaying
               aUSMS Iapelpin(thptis,aminiaturereplicaoftheUSMS starwithinacirclebadge).For
           '
               officersafetypurposes,the officersasked defendantO'GkADY ifhe had anyweapons '
               on his person,to which defendantO'GRADY responded ''
                                                                  yeso'' An officerthen asked

           where the weapon was Iocated,to which defendantO'GRADY rdplied ''on my hip.''An
               officer then asked whether defendant O'G RADY was ''a police om cer?'' to w hich
               defendantO 'G RADY replied ''Iam not'
                                                   'The officerthen abked,'W hatare you?''to w hich

               defendantO'GRADY responded ''aFederalM arshal.'W hen askedifhe had any 'federal

               marshalID,''defendantO'GRADY claimedhedid nothaveanywithhim becausehe ujust
           stepped outofhis house.''W hen asked ifhe had a supervïsor's num berto call,defendant

               O'G RADY replied ''no.''

                              Due to these unusualresponses,the oTcers then expressed theirconcern
                                          l
           thatthedefendantwascarryingaweaponwi
                                              thoutany(Iaw enfoicement)identification,to
           which defendantO 'G RADY responded 'it's nota realweapon.''O nly atthe pointthatthe

           ôfficers responded with incredulity ''
                                                you're carrying a fake weapon,and you're a federa!
               marshal?r'did the defendant finally concede 'no,/thatis,that he was notactuall
                                                                               '
                                                                                            ya
                                                                           4

           federalm arshal,butrqthera Iim o driver. The defendantw as then advised he was under

           arrest.
                          .                                            *
                     3.       During the foregoing incident,w hich was captured on a BBPD police body
           cam era,defendantO'G RADY can be seen w earing an authentic appearing US Marshals
           Service badge,a US MarshalsService IapelPin,a suitand ti
                                                                  e,and was found wearing a
       .       BB pistolreplica ofa sem i
                                        -autom atic pistolon his righthip in a beltholster.The badge

                                                          3
Case 9:18-cr-80109-RLR Document 42 Entered on FLSD Docket 08/17/2018 Page 4 of 4




    and replica pistolwere removed from defendantO'GRADY incidentto arrest.

            4. A personnelspecialist/custodian ofrecords for the Unitqd States M arshals
                                                                                       .L


    s:wze,also known as federalmarshal
                                     s,woulé testlfy thatDeiuty united statès
    Marshals are empléyees of the United States Depadment of Justice,'and that she
    conducted a diligentisearch of the personnelrecords ofthe United States Marshals

    Service and determined/confirmedthatdefendantO'GRAbY has neverbeen an officer '
    orem ployee ofthe USM S.

                                           Respectfully subm itled,

                                           BENJAMIN G.GRèENBERG
                                           UNITED STATES ATTORNEY



                                    B
                                          J HN C . CM
                                            SISTA NT UNITED S         S AU O RNEY


   :   N,AGRPED AND APPROVED:
               /



   J HN J            'G RADY
   D qEN ANT '


   #ETER BIRCH
   SUPERVISORY ASSISTANT FEDERALPUBLIC UEFENDER
   ATTO RNEY FOR DEFENDA NT
                           '

    Dated:      /w / ( ye
    W estPalm Be 'ch,Flor' a
                                             4
